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                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

ACE DELIVERY & MOVING, INC., ) Case No. 3:08-cv-
on behalf of itself and all others )
similarly situated,                )
                                   ) CLASS ACTION COMPLAINT
                     Plaintiff,    )
v.                                 )
                                   ) JURY TRIAL DEMANDED
HORIZON LINES, LLC; HORIZON )
LINES OF ALASKA, LLC;              )
HORIZON LINES, INC.; TOTEM         )
OCEAN TRAILER EXPRESS, INC.; )
and AMERICAN SHIPPING              )
GROUP, INC.,                       )
                                   )
                    Defendants.    )
                                   )



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        Plaintiff Ace Delivery & Moving, Inc., individually and on behalf of all those

similarly situated, brings this action for damages and injunctive relief under the antitrust

laws of the United States against defendants, demanding a trial by jury, and complaining

and alleging as follows:

                                    NATURE OF THE CASE

        1.       The case arises out of an alleged conspiracy by Defendants Horizon Lines,

LLC, Horizon Lines of Alaska, LLC, Horizon Lines, Inc., Totem Ocean Trailer Express,

Inc., and American Shipping Group, Inc. (collectively, “Defendants”) to fix, raise,

maintain, and/or stabilize prices of waterborne cargo shipping services between the

continental United States and Alaska (“Alaskan Shipping Services”). Defendants’

unlawful acts caused Plaintiff Ace Delivery & Moving, Inc. (“Plaintiff”) and other class

members to pay artificially inflated prices for Alaskan Shipping Services.

        2.       Plaintiff brings this case on behalf of a Class of purchasers of Alaskan

Shipping Services, as defined below, (“the Class”) to recover for the injuries incurred by

paying artificially inflated prices for Alaskan Shipping Services.

                                JURISDICTION AND VENUE

        3.       This action is instituted under Section 4 of the Clayton Act, 15 U.S.C.

§§ 15, to recover treble damages and costs of suit, including reasonable attorneys’ fees,

against Defendants for the injuries sustained by Plaintiff and the members of the Class by




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reason of the violations, as hereinafter alleged, of Section 1 of the Sherman Act,

15 U.S.C. § 1.

        4.       This action is also instituted under Section 16 of the Clayton Act, 15 U.S.C.

§ 26, to secure injunctive relief against Defendants to prevent them from further

violations of Section 1 of the Sherman Act, as hereinafter alleged.

        5.       This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337 and

Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15(a) and 26.

        6.       Venue is proper in this district pursuant to Sections 4, 12 and 16 of the

Clayton Act, 15 U.S.C. §§ 15, 22 and 26 and 28 U.S.C. § 1391(b), (c) and (d). Venue is

proper in this district because during the Class Period one or more of the Defendants

resided, transacted business, was found, or had agents in this district, and because a

substantial part of the events giving rise to Plaintiff’s claims occurred, and a substantial

portion of the affected interstate trade and commerce described below was carried out, in

this district.

        7.       Defendants, on information and belief, maintain offices, have agents,

transact business, or are found within this judicial district.

                                             PARTIES

        8.       Plaintiff Ace Delivery & Moving, Inc. has its principal place of business in

Anchorage, Alaska. During the relevant time period, Plaintiff purchased Alaskan

Shipping Services from one or more of the Defendants. The prices that Plaintiff paid to


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Defendants or their co-conspirators for Alaskan Shipping Services were, as a result of the

conspiracy herein alleged, higher than they otherwise would have been. As a result of the

alleged conspiracy, Plaintiff was injured in its business and property by reason of the

antitrust violations alleged herein.

        9.       Defendant Horizon Lines, LLC is a Delaware limited liability company

with its principal place of business in Charlotte, North Carolina. It operates a fleet of 21

container ships and five port terminals that provide shipping services between the

continental United States, Alaska, Guam, Micronesia, and Puerto Rico. Horizon Lines,

LLC is a wholly owned operating subsidiary of Horizon Lines, Inc. During the Class

Period, Horizon Lines, LLC marketed and sold Alaskan Shipping Services in this district

and other locations in the United States.

        10.      Defendant Horizon Lines of Alaska, LLC is a wholly owned subsidiary of

Horizon Lines, Inc. Horizon Lines of Alaska, LLC has its principal place of business in

Charlotte, North Carolina.

        11.      Defendant Horizon Lines, Inc. is a Delaware limited liability company with

its principal place of business in Charlotte, North Carolina. Horizon Lines, Inc. operates

as a holding company for its wholly-owned subsidiaries, including Horizon Lines, LLC.

By and through Horizon, Horizon Lines, Inc. sold Alaskan Shipping Services in this

district and other locations in the United States during the Class Period.




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        12.      Defendants Horizon Lines, LLC, Horizon Lines of Alaska, LLC, and

Horizon Lines, Inc. are referred to herein collectively as “Horizon.” Horizon accounts

for approximately 41 percent of the market for noncontiguous domestic ocean shipping to

Alaska.

        13.      Defendant Totem Ocean Trailer Express, Inc. is a privately owned Alaska

corporation with its headquarters in Federal Way, Washington. It operates a fleet of four

containerships that provide shipping services between the continental United States and

Alaska. Totem is a wholly owned subsidiary of the American Shipping Group, Inc.

During the Class Period Totem marketed and sold Alaskan Shipping Services in this

district and other locations in the United States.

        14.      Defendant American Shipping Group, Inc. is a Washington corporation

with its headquarters in Federal Way, Washington. By and through Totem Ocean Trailer

Express, American Shipping Group, Inc. sold Alaskan Shipping Services in this district

and other locations in the United States during the Class Period.

        15.      Totem Ocean Trailer Express, Inc. and American Shipping Group, Inc. are

referred to herein collectively as “TOTE.” TOTE accounts for approximately 41 percent

of the market for noncontiguous domestic ocean shipping to Alaska.

        16.      Whenever this Complaint refers to any act, deed, or transaction of any

corporation, that allegation means that the corporation engaged in the act, deed or

transaction by or through its officers, directors, agents, employees, or representatives


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while they were actively engaged in the management, direction, control, or transaction of

the corporation’s business or affairs.

                                      CO-CONSPIRATORS

          17.    Various other persons, firms and corporations, not named as Defendants in

this complaint, have participated as co-conspirators with Defendants in the violations

alleged herein, and aided, abetted, and performed acts and made statements in furtherance

of the conspiracy.

          18.    At all relevant times, each Defendant was an agent of each of the remaining

Defendants, and in doing the acts alleged herein, was acting within the course and scope

of such agency. Each Defendant ratified and/or authorized the wrongful acts of each of

the Defendants. Defendants, and each of them, are individually sued as participants and

as aiders and abettors in the improper acts and transactions that are the subject of the

action.

                                CLASS ACTION ALLEGATIONS

          19.    Plaintiff brings this action on behalf of itself and as a Class action under the

provisions of Rule 23(a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure on

behalf of all members of the following Class:

                 All persons (excluding governmental entities, Defendants, co-
                 conspirators, other sellers or providers of Alaskan Shipping
                 Services, and the present and former parents, predecessors,
                 subsidiaries, and affiliates of the foregoing) who purchased
                 Alaskan Shipping Services from any of the Defendants at any
                 time during the period from September 18, 2004, or earlier,

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                 until the effects of Defendants’ anticompetitive conduct cease
                 (“Class Period”).

        20.      Plaintiffs believe that there are hundreds or thousands of members of the

Class, as above described, the exact number and their identities being known by

Defendants.

        21.      The Class is so numerous and geographically dispersed that joinder of all

members is impracticable.

        22.      There are questions of law and fact common to the Class, which questions

relate to the existence of the conspiracy alleged, and the type and common pattern of

injury sustained as a result thereof, including but not limited to:

                 (a)      Whether Defendants and their co-conspirators engaged in a

                          combination and conspiracy among themselves to fix, raise,

                          maintain and/or stabilize prices of, restrict capacity of, and/or

                          allocate markets for Alaskan Shipping Services;

                 (b)      The identity of the participants in the conspiracy;

                 (c)      The duration of the conspiracy alleged in this Complaint and the

                          nature and character of the acts performed by Defendants and their

                          co-conspirators in furtherance of the conspiracy;

                 (d)      Whether the alleged conspiracy violated Section 1 of the Sherman

                          Act;



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                 (e)      Whether the conduct of Defendants and their co-conspirators, as

                          alleged in this Complaint, caused injury to the business and property

                          of the Plaintiff and other members of the Class;

                 (f)      The effect of Defendants' conspiracy on the prices of Alaskan

                          Shipping Services sold during the Class Period; and

                 (g)      The appropriate measure of damages sustained by Plaintiff and other

                          members of the Class.

        23.      Plaintiff’s claims are typical of the claims of the Class members; and

Plaintiff will fairly and adequately protect the interests of the members of the Class.

        24.      Plaintiff’s interests are coincident with and not antagonistic to those of the

other members of the Class.

        25.      Plaintiff is represented by counsel who is competent and experienced in the

prosecution of antitrust and Class action litigation.

        26.      The prosecution of separate actions by individual members of the Class

would create a risk of inconsistent or varying adjudications.

        27.      Defendants have acted, and refused to act, on grounds generally applicable

to the Class, thereby making appropriate final injunctive relief with respect to the Class

as a whole.




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        28.      The questions of law and fact common to the members of the Class

predominate over any questions affecting only individual members, including legal and

factual issues relating to liability and damages.

        29.      A Class action is superior to other available methods for the fair and

efficient adjudication of this controversy.

                                  TRADE AND COMMERCE

        30.      The activities of Defendants and their co-conspirators, as described in this

Complaint, were within the flow of, and substantially affected, interstate commerce.

        31.      During the time period covered by this complaint, Defendants and their co-

conspirators marketed and sold Alaskan Shipping Services.

        32.      Defendants and their co-conspirators, and each of them, have used

instrumentalities of interstate commerce to market and sell Alaskan Shipping Services.

        33.      Defendants and their co-conspirators have marketed and sold domestic

shipping services on routes between Alaska and the continental United States, resulting in

a continuous and uninterrupted flow of interstate commerce to customers located

throughout the United States.

                                        THE JONES ACT

        34.      The Merchant Marine Act of 1920, commonly referred to as the “Jones

Act,” prohibits “the transportation of merchandise by water, or by land and water,

between points in the United States to which the coastwise laws apply, either directly or


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via a foreign port, unless the vessel (1) is wholly owned by citizens of the United States

for purposes of engaging in the coastwise trade; and (2) has been issued a certificate of

documentation” or is exempt from documentation. 46 U.S.C. § 55102.

        35.      The Jones Act grants an exclusive privilege to certain U.S.-made, U.S.-

manned, U.S.-flagged, and U.S.-owned vessels to provide commercial shipping services

between points in the United States. The U.S. Department of Transportation’s Maritime

Administration reported that as a result of the Jones Act, “[d]omestic carriers are

protected from competition from foreign operators.”

        36.      The Jones Act markets are not as fragmented as international shipping

markets. The three noncontiguous Jones Act markets and Guam are currently served

predominantly by four shipping companies: Horizon, Matson Navigation Company, Inc.,

Crowley Maritime Corporation, and TOTE.

        37.      The Jones Act governs domestic shipping services between Alaska and the

continental United States, its territories, and possessions. See 46 U.S.C. § 55101

(extending coastwise laws to all states, territories and possessions, except American

Samoa, the Northern Mariana Islands, Canton Island, and the U.S. Virgin Islands).

        38.      The Jones Act’s restriction on the carriage of cargo on routes between

Alaska and the continental United States, its territories, and possessions to U.S.-owned

ships, combined with the limited size of those trade routes, has resulted in an oligopolistic




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Alaskan Shipping Services market. As a JPMorgan analyst explained, “The U.S. Jones

Act trade lanes have historically been oligopolies.”

                      THE ALASKAN SHIPPING SERVICES MARKET

        39.      Alaska, more than any of the continental United States, depends on water

transportation. Access to water has been a critical factor in the development of the state

and has often dictated locations of communities. Alaska’s 33,900 miles of coastline is far

greater than that of the entire U.S mainland.

        40.      Water transportation handles the greatest tonnage of freight coming into the

state. Goods shipped by water between the U.S. mainland and Alaska include food,

manufactured goods, lumber/wood, metal products, oil, gas, and chemicals.

        41.      The majority of ocean freight revenues earned is for services provided

under confidential price/service contracts. A study in 2004 by Reeve & Associates

indicates that approximately 85 percent of cargoes in the Alaskan trade are shipped under

confidential, unregulated price/services contracts. Defendant Horizon, in its 2007

Securities and Exchange Commission (“SEC”) Form 10-K, states that in the case of its

Alaska trade routes, they “primarily ship containers on the basis of confidential

negotiated transportation service contracts that are not subject to rate regulation by the

Surface Transportation Board.”

        42.      The Alaskan Shipping Services market is served by two principal cargo

carriers: Horizon and TOTE. Defendant Horizon’s 2007 SEC Form 10-K states “[w]e


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are one of only two major container shipping operators currently serving the Alaska

market, each accounting for approximately 41 percent of total container loads traveling

from the continental U.S. to Alaska. Horizon Lines and TOTE serve the Alaska market.”

        43.      Both carriers operate cargo liners between the cities of Tacoma,

Washington and Anchorage, Alaska. Tacoma is the sixth largest port in North America

and is the leading port in the Pacific Northwest. Horizon also ships between Tacoma and

the Alaskan ports of Dutch Harbor and Kodiak.

        44.      In 2003, 2.8 million short tons were shipped between the U.S. mainland and

Alaska on cargo liners, such as those operated by Horizon and TOTE.

        45.         The Port of Tacoma did 3.4 billion dollars in Alaskan shipping business in

2002 making Alaska No. 3 among the port’s top trading partners. The senior director of

trade development at the Port of Tacoma estimated that “about 30 percent of our business

in any given year is related to the Alaskan trade.”

        46.      Horizon and TOTE have a combined market share of over 80 percent of the

Alaskan Shipping Services market. According to a May 2006 study by the U.S.

Department of Transportation entitled, “Competition in the Noncontiguous Domestic

Maritime Trades,” the Alaskan Shipping Services market is “highly concentrated.”

        47.      There are numerous barriers to entry for companies attempting to enter the

Alaskan Shipping Services market. Competition is limited by, inter alia: the Jones Act;

substantial upfront costs; and a substantial lag time between deciding to enter and


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actually being able to enter because of the need for U.S.-built ships and adequate port

facilities. Thus, competitors or potential market entrants lack the capacity to increase

output in the short term.

        48.      As Defendant Horizon explained in its 2007 SEC Form 10-K: “Given the

limited number of existing Jones Act qualified vessels, the high capital investment and

long delivery lead times associated with building a new containership in the U.S., the

substantial investment required in infrastructure, and the need to develop a broad base of

customer relationships, the markets in which we operate have been less vulnerable to

over capacity and volatility than international shipping markets.”

        49.      Horizon, in a 2005 SEC filing stated that “over the past 11 years, Alaska,

Hawaii and Guam, and Puerto Rico have experienced low average rate volatility of 0.4%,

1.3%, and 2.4% per annum while the major transpacific and transatlantic trade routes

have experienced average rate volatility of 34.3% and 8.9% per annum.”

        50.      Alaskan Shipping Services are highly fungible, so that shippers decide to

purchase shipping services and competitors compete largely based on price. Land and air

cargo services are more costly compared to ocean transportation, especially for heavy

goods. Price fixing is especially pernicious in a highly concentrated, fungible market for

which adequate substitutes do not exist, as is the case here with respect to the Alaskan

Shipping Services market.




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        51.      In sum, the structure of the Alaskan Shipping Services market is such that

secret price-fixing is feasible. Demand is inelastic. There are extensive barriers to entry

in the form of expensive machinery (e.g., U.S.-built ships) and economies of scale. The

market is highly concentrated. It is essentially a duopoly with Defendants operating

nearly free from competition. Alaskan Shipping Services is a highly standardized

product.

    VIOLATIONS ALLEGED REGARDING ALASKAN SHIPPING SERVICES

        52.      Beginning at least as early as September 18, 2004, or earlier, the exact dates

being unknown to Plaintiff, Defendants and their co-conspirators engaged in a continuing

agreement, understanding, and conspiracy in restraint of trade to fix, raise, maintain,

and/or stabilize prices of, to restrict capacity of, to allocate the market for, and/or to

otherwise engage in anticompetitive conduct regarding Alaskan Shipping Services, in

violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

        53.      The contract, combination and conspiracy consisted of a continuing

agreement, understanding, and concert of action among the Defendants and their co-

conspirators, the substantial terms of which were to fix, raise, maintain and/or stabilize

prices, to restrict capacity, to allocate the market, and/or to engage in other

anticompetitive conduct concerning Alaskan Shipping Services.




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        54.      In formulating and effectuating the aforesaid contract, combination or

conspiracy, Defendants and their co-conspirators did those things that they unlawfully

combined and conspired to do, including, among other things:

                 a.       agreeing to fix, raise, maintain, and/or stabilize prices for Alaskan

                          Shipping Services;

                 b.       agreeing to limit the capacity of Alaskan Shipping Services;

                 c.       exchanging information on customers and capacity; and

                 d.       monitoring the implementation of the agreements among cartel

members.

        55.      For example, beginning in at least 2004, Defendants agreed to act in

concert with one another in setting fuel surcharges. Defendants’ agreement to charge

uniform fuel surcharges is reflected in their frequently lockstep or near lockstep changes

in fuel surcharges charged to customers. Defendants’ changes in these surcharges

commonly occurred on the same day, or within days of each other, and changed in

identical or near identical percentages.

        56.      Fuel surcharge increases by Defendants in 2007 reflect this trend. For

example, in late February 2007, Horizon increased its fuel surcharge to 16.5 percent and

in early March, TOTE matched this percentage exactly.

        57.      In May 2007, within days of each other, Horizon and TOTE increased their

fuel surcharges to 17.5 percent.


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        58.      On November 4, 2007, Horizon and TOTE both increased their respective

fuel surcharges to 19.5 percent.

        59.      On November 25, 2007, Horizon and TOTE both increased their fuel

surcharges to 21.5 percent.

        60.      Closely timed changes also occurred in 2006. On May 21, 2006 TOTE

increased its fuel surcharge to 18.5 percent. On the same day, Horizon increased its fuel

charge to the same percentage.

        61.      On October 1, 2006 TOTE decreased its fuel surcharge to 17.5 percent.

Within days, Horizon matched this fuel surcharge exactly.

        62.      On October 15, 2006, TOTE decreased its fuel surcharge to 16.5 percent.

Within days, Horizon matched this fuel surcharge exactly.

        63.      On November 5, 2007, TOTE decreased its fuel surcharge to 11.5 percent.

Within days, Horizon matched this percentage exactly.

        64.      Horizon’s and TOTE’s claims that fuel surcharges were implemented due

to increased fuel costs is pretextual; the surcharges did not reflect actual fuel cost

increases. In addition, a history of identical fuel surcharges makes no economic sense as

they are calculated as a percentage of revenue. The revenue that the fuel surcharges

generated is dependent upon the underlying revenues generated per container and

container utilization, both of which vary between the two carriers. Even if fuel costs

increased for both carriers, the increase in cost as a percentage of revenue cannot be the


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same for both carriers as they use different technologies, and have different routes,

different operations, and different cargo. Therefore, it is not plausible that Horizon’s and

TOTE’s fuel surcharges were only to raise additional revenue to offset rising fuel costs.

        65.      The activities described above have been engaged in by Defendants and

their co-conspirators for the purpose of effectuating their unlawful agreements.

        66.      Defendants have participated and continue to participate in trade

associations such as the Maritime Cabotage Task Force (“MCTF”), a trade association

founded in September 1995 to protect the U.S. maritime cabotage laws and the interests

of its members. Charles Raymond, the Chairman, President and CEO of Horizon Lines,

Inc., and Robert Zuckerman, Vice-President and General Counsel of Horizon Lines, Inc.,

both sit on the MCTF’s board of directors. Also a member of the MCTF board of

directors is Robert Magee, the Chairman, President and CEO of American Shipping

Group, Inc.

        67.      The MCTF lobbies both the executive and legislative branches of

government against efforts to open domestic shipping markets to competition with non-

Jones Act vessels. Defendants’ participation in these and other trade associations

facilitates the implementation and monitoring of Defendants’ collusive agreements.

        68.      Defendants profited as a result of their conspiracy. Horizon, for example,

reported revenue increases of 11.9 percent to $331.0 million and revenue per container

increases of 9.7 percent. These increases occurred despite dramatically rising fuel costs.


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                      GOVERNMENT ANTITRUST INVESTIGATION

        69.      On April 17, 2008, it was disclosed that the Antitrust Division of the United

States Department of Justice (“DOJ”) had begun an investigation into the pricing

practices of carriers operating in the domestic shipping trades. That same day, Horizon

disclosed that Federal agents had served search warrants and a Grand Jury subpoena as

part of the DOJ’s investigation.

        70.      On April 21, 2008, Matson Navigation Company, Inc.(“Matson”), another

carrier which does not operate in Alaska, was served with a Grand Jury subpoena from

the U.S. District Court for the Middle District of Florida for documents relating to the

DOJ’s investigation into the pricing practices of carriers operating in the domestic

shipping trades. Matson’s 10-Q report for the first quarter of 2008 states that “while the

investigation currently is focused on the Puerto Rico trade, it also includes pricing

practices in connection with all domestic trades, including the Hawaii, Alaska and Guam

trades.”

        71.      To obtain search warrants, the United States was required to provide

probable cause, accepted by a court, to believe that it would obtain evidence of an

antitrust violation from the search warrant – that is, the United States had to have

evidence sufficient to have warranted a person of reasonable caution to believe that

raiding the offices of a seemingly lawful business would uncover evidence of antitrust




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violations and a court had to have examined and accepted that evidence of probable

cause.

                                FRAUDULENT CONCEALMENT

         72.     Plaintiff had no knowledge of Defendants’ unlawful self-concealing

conspiracy and could not have discovered, by the exercise of due diligence, the contract,

combination or conspiracy until April 17, 2008 because of the deceptive practices and

techniques of secrecy employed by Defendants to avoid detection of, and fraudulently

conceal, their contract, combination, or conspiracy.

         73.     Defendants also concealed their conspiracy by publicly stating pretextual

reasons for their fuel surcharge increases.

         74.     Because the contract, combination, or conspiracy alleged herein was kept

secret by Defendants, Plaintiff was unaware of the anticompetitive conduct in the

Alaskan Shipping Services industry. It was not until April 17, 2008--the date on which it

was disclosed that the Federal Bureau of Investigation executed search warrants for the

premises of Defendant Horizon--that Plaintiff became aware, or could have become

aware with the exercise of reasonable diligence, of Defendants’ anticompetitive conduct.

         75.     As a result of the fraudulent concealment of the conspiracy, Plaintiff asserts

the tolling of the applicable statute of limitations affecting the right of action by Plaintiff.




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                                              COUNT I

                    Violation of Section 1 of the Sherman Act, 15 U.S.C. § 1

        76.      Plaintiff incorporates by reference as if fully set forth herein the allegations

contained in the preceding paragraphs of this complaint.

        77.      Defendants’ unlawful conduct resulted in artificially high supra-

competitive prices charged by Defendants and their co-conspirators to Plaintiff and the

members of the Class of direct purchasers of Alaskan Shipping Services.

        78.      Plaintiff and members of the Class had to pay more for Alaskan Shipping

Services than they would have paid in a competitive marketplace, unfettered by

Defendants’ and their co-conspirators’ collusive and unlawful price-fixing.

        79.      Plaintiff and the Class seek to recover for these overcharge damages.

        80.      As a direct and proximate result of Defendants’ scheme, Plaintiff and the

members of the Class have been injured and financially damaged in their respective

businesses and property, in amounts which are presently undetermined. Plaintiff’s

injuries consist of paying higher prices to purchase Alaskan Shipping Services than it

would have paid absent Defendants’ conduct. Plaintiff’s injuries are of the type that the

antitrust laws were designed to prevent and flow from that which makes Defendants’

conduct unlawful.




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                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays as follows:

        A.       That the Court determine that this action may be maintained as a Class

action under Rule 23 of the Federal Rules of Civil Procedure;

        B.       That the contract, combination or conspiracy, and the acts done in

furtherance thereof by Defendants and their co-conspirators, be adjudged to have been in

violation of Section 1 of the Sherman Act, 15 U.S.C. § 1;

        C.       That judgment be entered for Plaintiff and members of the Class against

Defendants for three times the amount of damages sustained by Plaintiff and the Class as

allowed by law, together with the costs of this action, including reasonable attorneys’

fees;

        D.       That Defendants, their affiliates, successors, transferees, assignees, and the

officers, directors, partners, agents and employees thereof, and all other persons acting or

claiming to act on their behalf, be permanently enjoined and restrained from, continuing

to engage in the anticompetitive conduct described herein;

        E.       That Plaintiff and members of the Class have such other, further and

different relief as the case may require and Court may deem just and proper under the

circumstances.




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                                    JURY TRIAL DEMAND

        Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury of all of the

claims asserted in this complaint so triable.

        Dated this 18th day of September, 2008.

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